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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
    Case No.         SACV 20-00048 JVS (JDEx)                     Date   June 23, 2022
    Title            Masimo Corporation et al. v. Apple Inc.


    Present: The                 James V. Selna, U.S. District Court Judge
    Honorable
                         Lisa Bredahl                               Not Present
                         Deputy Clerk                             Court Reporter
                Attorneys Present for Plaintiffs:        Attorneys Present for Defendants:
                          Not Present                               Not Present

    Proceedings:          [IN CHAMBERS] Order Regarding Motion to Confirm
                          Patent Stay Has Ended


          Before the Court is Plaintiffs’ motion to confirm that the stay of the patent
   claims has ended. See Mot., ECF No. 735; see also ECF Nos. 736 (Memo P&A),
   745 (Sealed Memo P&A). The Motion is fully briefed. See Opp., ECF Nos. 735,
   755 (Sealed); Reply, ECF Nos. 760, 763-1 (Sealed)1. A review of the briefing
   shows this matter may be decided without the need for oral argument. Fed. R. Civ.
   P. 78; L.R. 7-15. The Court VACATES the June 27, 2022, hearing.

            For the reasons stated below, the Court DENIES Plaintiffs’ motion.

   I.       Background

         On October 13, 2020, to promote efficiency pending the outcome of IPR
   proceedings, the Court stayed Plaintiffs’ patent infringement-related claims (i.e.,
   Claims 1-12 of the then-current Second Amended Complaint). See ECF Nos. 220
   (Sealed), 222 (Redacted) (“Stay Order”). Plaintiffs now move to “confirm that the

            1
                 No standalone version of the Sealed Reply has been filed. See ECF No. 765
   (Order granting Application to Seal).
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   patent stay is no longer in effect for U.S. Patent Nos. 8,457,703 and 10,433,776.”
   Mot. at 1. Specifically, because the IPR proceedings before the PTAB have
   concluded and Apple was unsuccessful at invalidating those two patents, Plaintiffs
   seek “confirmation” that the patent stay is over and was never intended to remain
   in place during a Federal Circuit appeal. Id. Plaintiffs believe the stay is over
   because, in moving to stay, Apple sought a stay only through completion of the
   PTAB proceedings, not further appellate proceedings. See id. (citing ECF No. 196-
   1 (Apple sought stay “pending final disposition of Apple’s petitions for Inter Partes
   Review (‘IPR’) challenging all asserted claims of the twelve asserted patents
   before the Patent Trial and Appeal Board (‘PTAB’).”); id. at 2 (“[t]he patent
   infringement case can easily be restarted should [Masimo] prevail in the PTAB”)).
   Therefore, Plaintiffs conclude that Apple now should be precluded from seeking a
   longer stay. Mot. at 1-2. In further support of their request, Plaintiffs also argue
   that proceeding with these two patents now will not disrupt the March 2023 trial
   date because the IPR proceedings have narrowed Apple’s invalidity arguments, the
   parties have already taken extensive discovery overlapping with these claims, and
   the current schedule can accommodate adding the necessary patent dates. Id. at 6-9.

           Apple responds that a stay through appeal is warranted because it moved for
   a stay “‘pending final disposition of Apple’s petitions for Inter Partes Review,’”
   Opp. at 1 (quoting ECF No. 196-1 at 1)); “Apple’s proposed order stated expressly
   that it was seeking a stay ‘pending the conclusion of Inter Partes Review
   proceedings … and any subsequent appeals therefrom,’” id. (quoting ECF No.
   196-2); and its “reply brief made a similar request, asking the Court to ‘stay … the
   patent infringement case pending final resolution of Apple’s IPR petitions.’” Id. at
   3 (quoting ECF No. 217 at 25). Apple contends that, “[b]y statute, the Patent
   Office’s ruling on an IPR petition is not final until ‘the time for appeal has expired
   or any appeal has terminated.’” Id. at 4 (quoting 35 U.S.C. § 318(b)). Even
   assuming Apple did not request a stay through appeal, Apple argues that nothing in
   the Stay Order suggests the Court granted the stay based on an understanding that
   the stay would last only through the PTAB’s decision. Id. at 5. Apple also argues
   that, applying the same factors the Court considered initially, a stay remains
   warranted. Id. at 6-12. Finally, Apple observes that, before the PTAB, it was
   unsuccessful on only two of the twelve instituted IPRs, and if it prevails on appeal,
   the patent claims would be moot here; conversely, if Plaintiffs succeed on any of
   their own ten appeals, lifting the stay now would result in two patent trials. Id. at 1,
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   6, further supporting a continued stay.2

          In reply, Plaintiffs argue that Apple should not be allowed to seek new relief
   in an opposition, and in any event its arguments for a continued stay lack merit.
   See generally Reply. Further, Plaintiffs argue that they would be “severely
   prejudiced by a new stay as Apple is now flooding the market with pulse oximetry
   products that compete with Masimo.” Id. at 1. Plaintiffs reiterate that lifting the
   stay would not disrupt the current case schedule and trial date. Id. at 4-6. Plaintiffs
   also argue that the Court should not enter a new stay because substantial
   overlapping discovery has been completed; the Federal Circuit affirms the vast
   majority of PTAB decisions; and “Apple has now been flooding the market with its
   pulse oximetry products for twenty months” and the parties are “becoming closer
   competitors by the day.” Id. at 8-15.

   II.    Legal Standard

          “The District Court has broad discretion to stay proceedings as an incident to
   its power to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997);
   see also Ethicon, Inc. v. Quigg, 849 F.2d 1422, 1426-27 (Fed. Cir. 1988). In
   deciding whether to stay an action pending IPR, a court’s discretion is typically
   guided by three factors: “(1) whether discovery is complete and whether a trial date
   has been set; (2) whether a stay will simplify the issues in question and trial of the
   case; and (3) whether a stay would unduly prejudice or present a clear tactical
   disadvantage to the nonmoving party.” Universal Electronics, Inc. v. Universal
   Remote Control, Inc., 943 F. Supp. 2d 1028, 1030-31 (C.D. Cal. 2013) (quoting
   Aten International Co., Limited v. Emine Technology Co., Limited, 2010 WL
   1462110, at *6 (C.D. Cal. Apr. 12, 2010)).

           The inquiry, however, is not limited to these factors and “the totality of the
   circumstances governs.” Allergan Inc. v. Cayman Chemical Co., 2009 WL
   8591844, at *2 (C.D. Cal. Apr. 9, 2009) (citation omitted). In addition, “[t]here is a
   liberal policy in favor of granting motions to stay proceedings pending the
   outcome of re-examination, especially in cases that are still in the initial stages of
   litigation and where there has been little or no discovery.” Limestone v. Micron
   Technology, 2016 WL 3598109, at *2 (C.D. Cal. Jan. 12, 2016).



          2
                  Both parties have appealed their respective IPR losses to the Federal Circuit (i.e.,
   all twelve patents are subject to appeal).
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   III.   Analysis

          The Court begins by considering what impact, if any, the Stay Order has on
   the present dispute. In the proceedings underlying the Stay Order, neither party
   addressed whether any stay should continue through any theoretical appeals.
   Accordingly, the Stay Order did not decide the issue. Although the parties have
   now presented that question to the Court in an unusual procedural posture,3 in the
   interest of efficiency the Court will answer the question.4

          First, in the Stay Order, the Court found that the stage of the proceedings
   favored a stay because the case was in its early stages. See Stay Order at 3-4. Due
   to the stay, save for some overlapping discovery, the patent claims have necessarily
   remained at the same stage. Since the original stay is what prevented the patent
   claims from proceeding further, the Court concludes that this factor neither favors
   or disfavors a stay. This is because the stay necessarily prevented the development
   of any facts that would allow for an updated, meaningful analysis of this factor.
   See DivX, LLC v. Netflix, Inc., No. CV 19-1602-PSG-DFMx, 2022 WL 1208167,
   at *4 (C.D. Cal. Mar. 29, 2022) (“although the early stage of the proceedings in
   each case remains unchanged [because of the stay], the Court finds the first factor
   neutral”). Thus, this factor is unhelpful to the overall analysis.

          Second, in the Stay Order, the Court found that simplification of the issues
   favored a stay because “[t]he outcome of the IPR[s] may significantly narrow the
   scope and complexity of the litigation and the parties’ and Court’s resources are
   likely to be conserved.” Stay Order at 6. The Court finds that this remains true.

         Here, Apple filed petitions on all asserted claims of all twelve asserted
   patents and the PTAB instituted all of the proceedings. Plaintiffs won nine and
   Apple won two of those proceedings, and now both parties are appealing all of the


          3
                   For example, the previous non-moving party is now the moving party, neither
   party identified this issue in the nearly two years since the Stay Order issued, and the parties
   declined to present the issue to the Court in the form of a joint report seeking guidance.
          4
                  Relatedly, to the extent each party complains that the opposing party included
   arguments at the improper time (e.g., Apple presents arguments supporting a continued stay in
   its Opposition and Plaintiffs present new arguments concerning prejudice for the first time in
   Reply), again, in the interest of efficiency and considering the somewhat unusual procedural
   posture in which this question has been presented, the Court will consider all arguments
   presented by the parties.
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   PTAB’s decisions adverse to their respective positions. See, e.g., Limestone, 2016
   WL 3598109, at *4 (where the IPR would involve “nearly all claims asserted in
   this action, the outcome of the IPR ha[d] the potential to significantly narrow the
   scope and complexity of the litigation”). The parties’ and the Court’s resources
   will continue to be preserved if the stay remains in place until the Federal Circuit
   makes a final determination about these patents.

          Further, considering the manner in which the trade secrets component of this
   case is being litigated by both parties (e.g., little success during the meet and
   confer process resulting in heavy motion practice before the Special Master and
   this Court on a steady and ongoing basis on even small issues), the Court
   concludes that it would be a waste of resources to proceed immediately with only
   two patents while appeals are pending on all twelve patents. The Court does not
   wish to multiply the proceedings unnecessarily and asks the parties to be mindful
   of this consideration.

          Finally, although not necessary to the Court’s weighing of this factor, the
   Court tends to agree with Apple that injecting two patent counts at this late stage of
   the trade secrets case would render the current, carefully negotiated schedule
   untenable. See, e.g., Order, ECF No. 586 (“Given the talent and experience of
   counsel on both sides, the current [scheduling] situation is at a minimum
   perplexing.”). With trial about nine months away, the Court does not believe that
   any patent claims would be ready for trial on the same schedule (e.g., at a
   minimum, the parties would have to exchange updated contentions, go through the
   entire Markman process, and address any patent-related summary judgment
   matters).

         For the reasons explained, the Court finds that the second factor continues to
   favor a stay.

          Third, in the Stay Order, the Court found that undue prejudice or tactical
   advantage slightly disfavored a stay because the parties “are certainly not sole
   competitors [in the relevant market], which reduces the amount of prejudice that
   Plaintiffs would suffer,” but with twelve patents at issue, “[d]elay may result in the
   loss of evidence or the inability of witnesses to recall specific facts.” Stay Order at
   6-7.

         Although Plaintiffs continue to argue competitive harm and argue they are
   prejudiced by Apple flooding the market, they do not aver that they are sole
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   competitors in the relevant market, so that fact has not changed. See id. at 6 (“The
   existence of other competitors in the relevant market ‘undermines the weight that
   should be afforded Plaintiff’s contentions of undue harm.’”) (quoting Wonderland
   Nursery Goods Co., Limited v. Baby Trend, Inc., 2015 WL 1809309 at *4
   (C.D. Cal. 2015)). Additionally, more than two years into this litigation, Plaintiffs
   do not argue or cite circumstances suggesting the passage of time has led to the
   loss of evidence or fading memories. Accordingly, the Court finds that this factor
   continues to slightly favor a stay.

          Considering the totality of the present circumstances, the Court finds that, on
   balance, continuing the stay is warranted, particularly where the potential for
   simplification favors a stay and the potential for prejudice or tactical advantage
   only slightly favors a stay.

          For the reasons stated, the Court DENIES the Motion. After considering the
   parties’ current arguments, the Court rules that the stay shall continue through the
   Federal Circuit’s decision on the PTAB’s IPR decisions.

                IT IS SO ORDERED.



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